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                                UNITED STATES DISTRICT COURT
                                  FOR THE WESTERN DIVISION
                                        Abingdon Division


 KYMBERLY HOBBS, ADMINISTRATOR
 OF THE ESTATE OF CHARLES JAMES GIVENS,
 DECEASED,

                  Plaintiff,
                                                               Civil Action No.: 1:23-cv-00003
 v.

 ANTHONY RAYMOND KELLY, et al.,

                  Defendants.


              PLAINTIFF’S MEMORANDUM IN OPPOSITION TO THE
           MOTION FOR A PROTECTIVE ORDER BY DEFENDANTS ARTRIP
      AND POSTON AND NON-PARTY VIRGINIA DEPARTMENT OF CORRECTIONS

         Plaintiff Kymberly Hobbs, Administrator of the Estate of Charles James Givens, deceased,

 by counsel, and for her Memorandum in Opposition to Defendants Jeffrey Artrip and Travis Poston

 non-party Virginia Department of Corrections (collectively, “Movants”)’s Motion for a Protective

 Order, states:

         The Movants seek to preclude discovery into the allegations of intentional freezing and

 cold-water torture in the Amended Complaint. As they argue in their simultaneously filed Motion

 to Dismiss and supporting memorandum, ECF Doc. Nos. 54 and 55, Defendants Artrip and Poston

 assert that the incidents of intentional freezing and cold-water torture are not linked to the beating

 death of Mr. Givens. They argue that those prior instances of abuse have no relevance to his

 eventual death at the hands of those abusers. Accordingly, the Movants claim that any discovery

 into the instances of intentionally brought about hypothermia and cold-water torture is

 unwarranted. This contention falls short.
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        As fully explained in Plaintiff’s Memorandum in Opposition to Defendant Artrip and

 Poston’s Motion to Dismiss, see ECF Doc. No. 61, the hypothermia and cold-water exposure are

 linked to Mr. Givens’ death as they are previous instances of excessive force perpetrated by

 officers supervised in part by Defendants Artrip and Poston. Moreover, even if those events are

 separated from the other physical assaults, the deliberate indifference of Defendants Artrip and

 Poston in response to those events led, as a natural and probable consequence, to the beating death

 of Mr. Givens. Accordingly, Plaintiff may seek discovery regarding those previous events of

 hypothermia and cold-water showers just as she may regarding all the other aspects of her

 Amended Complaint.1

        Defendants Artrip and Poston’s Motion to Dismiss and the Movants’ Motion for a

 Protective Order both rest on two faulty legal premises: that instances of excessive force can be

 separated by the type of force used and that the previous unconstitutional actions must be perfectly

 aligned with the current constitutional injury for purposes of a Shaw claim. Neither premise is

 true, and both motions should be denied.

        For the reasons stated above, Plaintiff asks this Court to deny the Movants’ Motion for a

 Protective Order.

                                               Respectfully submitted,


                                               By: ____/s/ Danny Zemel________________
                                                            Counsel
 Mark J. Krudys (VSB No. 30718)
 Daniel Zemel (VSB No. 95073)


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           Although the Movants mention discovery efforts to date, and identify, among other things,
 the number of documents produced by VADOC – with the unstated suggestion that they have
 adequately carried out their discovery obligations – their motion is based solely on the relevance of
 the “issues of hypothermia and alleged cold exposure at Marion.” ECF Doc. No. 53, at 4. They
 move for “an order forbidding discovery” into some issues solely because they argue those issues
 are irrelevant. Accordingly, Plaintiff will only address that contention.


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 Counsel for Plaintiff Kymberly Hobbs, Administrator of the Estate of Charles James Givens,
 Deceased


                                  CERTIFICATE OF SERVICE

         I hereby certify that on this 6th day of March 2024, I will electronically file the foregoing

 with the Clerk of the Court using the CM/ECF system, which will then send a notification of such

 filing all counsel of record.


                                               _____/s/ Danny Zemel_______________
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